 Case 1:17-cv-00250-NT Document 28 Filed 03/01/18 Page 1 of 2                      PageID #: 128




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


R.C.F., a minor, by and through his           )
mother, DONNA ANDERSON,                       )
                                              )
        Plaintiff                             )
                                              )        Case No. 1:17-cv-000250
v.                                            )
                                              )
                                              )
RANGELEY LAKES HERITAGE                       )
TRUST, INC.,                                  )
                                              )
        Defendant                             )


        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(ii)

        NOW COME the parties to this action, through the undersigned attorneys, and pursuant

to Fed. R. Civ. P. 41(a)(1)(ii), here by dismiss this action and all claims, including claims for

attorney’s fees, that were or could have been asserted therein, with prejudice and without costs.

Date:                                                 Jointly submitted,

/s/Kristin L. Aiello                                  /s/Mark V. Franco
Kristin L. Aiello, Esq.                               Mark V. Franco, Esq.
Disability Rights Maine
24 Stone Street, Suite 204                            /s/Julia G. Pitney
Augusta, ME 04330                                     Julia B. Pitney, Esq.
(207) 626 2774                                        DrummondWoodsum
kaiello@drme.org                                      84 Marginal Way, Suite 600
                                                      Portland, ME 04101-2480
                                                      (207) 791-1100
                                                      mfranco@dwmlaw.com
                                                      jpitney@dwmlaw.com
 Case 1:17-cv-00250-NT Document 28 Filed 03/01/18 Page 2 of 2                     PageID #: 129




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2018, I electronically filed the foregoing Joint Stipulation

of Dismissal using the CM/ECF system which will send notice of electronic filing to parties and

counsel of record.

                                                             /s/ Kristin L. Aiello
                                                             Kristin L. Aiello
                                                             Disability Rights Maine
                                                             24 Stone Street, Suite 4
                                                             Augusta, ME 04330
                                                             (207) 626 2774
                                                             kaiello@drcme.org

                                                             Attorney for Plaintiff
